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cooperative global effort to prevent nuclear terrorism, reduce global nuclear
arsenals, stop the spread of nuclear weapons and related material and
technology, and support the responsible and peaceful use of nuclear
technology.

$.1752 'A bill to establish the policy of the United States with respect to
deployment of missile defense systems capable of defending allies of the
United States against ballistic missile attack.

$.1547 'An original bill to authorize appropriations for fiscal year 2008 for
military activities of the Department of Defense, for military construction, and
for defense activities of the Department of Energy, to prescribe military
personnel strengths for such fiscal year, and for other purposes.

« §.1534 'A bill to hold the current regime in Iran accountable for its human
rights record and to support a transition to democracy in Iran.

§.1430 A bill to authorize State and local governments to direct divestiture
from, and prevent investment in, companies with investments of $20,000,000
or more in tran's energy sector, and for other purposes.

$.1234 'A bill to strengthen the liability of parent companies for violations of
sanctions by foreign entities, and for other purposes.

8. ‘A bill to impose sanctions on Iran and on other countries for assisting
Iran in developing a nuclear program, and for other purposes.

‘A bill to prohibit the use of funds for military operations in lran.

$.527 ‘A bill to make amendments to the Iran, North Korea, and Syria
Nonproliferation Act.

  

 

 

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14 fighter aircraft.

S.RES.580 'A resolution expressing the sense of the Senate on preventing

Iran from acquiring a nuclear weapons capability.

» 8. 56 'A resolution affirming that any offensive military action taken

against Iran must be explicitly approved by Congress before such action may

be initiated.

S.RES.39 'A resolution expressing the sense of the Senate on the need for

approval by the Congress before any offensive military action by the United

States against another nation.

» $.J.RES.23 ‘A joint resolution clarifying that the use of force against Iran is not
authorized by the Authorization for the Use of Military Force Against Iraq, any

resolution previously adopted, or any other provision of law.

» 3 19 ‘A concurrent resolution expressing the sense of Congress on

the nuclear program of fran.
S.CON.RES.13

  

 

 

 

‘A concurrent resolution expressing the sense of Congress

 

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« that the President should not initiate military action against Iran without first
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breakdown as a result of the mass influx of Mea ‘ugees into ecigtboring
countries, and the growing internally displaced population in traq, by
increasing directed accountable assistance to these populations and their
host countries, increasing border security, and facilitating the resettlement of
lraqis at risk.

H.R.3653 'To hold the current regime in tran accountable for its human rights

 

 

record and to support a transition to democracy in Iran.
3.

 

Iran in developing a nuclear program, and for other purposes.

H.R.3222 'Making appropriations for the Department of Defense for the fiscal
year ending September 30, 2008, and for other purposes. SBA
« H.R.2880 'To amend the Iran Sanctions Act of 1996 to enhance United States
diplomatic efforts with respect to Iran by expanding economic sanctions
against Iran to include the importation of refined petroleum.

H.R.2764 ‘Making appropriations for the Department of State, foreign
operations, and related programs for the fiscal year ending September 30,
2008, and for other purposes.

» HLR.234

from, and prevent investment in, companies with investments of $20,000,000
or more in Iran's energy sector, companies that sell arms to the Government
of Iran, and financial institutions that extend $20,000,000 or more in credit to
the Government of Iran for 45 days or more, and for other purposes.

3 'To authorize appropriations for fiscal year 2008 for military activities

   
  

  

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partment of Defense; for military: construction;-and-for-defense-----~
activities of the Department of Energy, to prescribe military personnel
strengths for such fiscal year, and for other purposes.

‘A bill to strengthen controls on the export of surplus parts for F-14 lrancensus
fighter aircraft.

 

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future investments in Iran, and to require disclosure to investors of information

relating to such investments.

* » H,R.1324 'To urge the Secretary of State to designate the Quds Force, a unit
of Iran's islamic Revolutionary Guards Corps, as a foreign terrorist
organization.

To amend the iran Sanctions Act of 1996 to expand and clarify the

gainst which sanctions may be imposed.

if ‘To prohibit the use of funds to carry out any covert action for the

purpose of causing regime change in Iran or to carry out any military action

against Iran in the absence of an imminent threat, in accordance with .

international law and constitutional and statutory requirements for Register to Vote!

congressional authorization. :

« H.B.394 'To provide for payment of certain claims against the Government of

fran.

 

    

     

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the vernment of Syne continued interference in the internal affairs of
- Lebanon.

 

i 90 ‘Expressing grave concern of the House of Representatives for

Iran and Syria"s continued and systematic violations of UN Resolutions 1701

and 1559.

H.RES,435 ‘Expressing concern relating to the threatening behavior of the

franian regime and its leader Mahmoud Ahmadinejad, and the activities of

terrorist organizations sponsored by that regime in Latin America.

« H.RES.163 ‘Urging the collective judgment of both Congress and the
President regarding the use of military force by the United States.

« Hes

 

agreement for nuclear cooperation between the United States and the
Russian Federation.

H.J.RES.14 ‘Concerning the use of military force by the United States against
Iran.

 

362 Impose further sanction to increase international and
ai pressure on fran.
« H.CON.RES.257 ‘Expressing concern regarding arms transfers to Iran and

 

 

Syria by the Russian Federation and entities in the Russian Federation and

urging the President of the United States to implement sanctions against such

entities found to be in violation of United States law prohibiting arms transfers

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HAA 03 ‘Condemning the persecution of labor rights advocates in
fran.

 

not initiate a action against tran without first obtaining authorization from
Congress.

 

1 ‘Calling on the United Nations Security Council to charge
Iranian leader Mahmoud Ahmadinejad with violating the 1948 Convention on
the Prevention and Punishment of the Crime of Genocide and United Nations
Charter because of his calls for the destruction of the State of Israel.

 

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DR. TRITA PARSI, President

NIAC
Jul 09, 2007

With a background as director for two U.S.-based
Iranian organizations, Dr. Trita Parsi possesses a
rich set of leadership skills and vision that will
guide NIAC towards its goals.

Trita Parsi has worked for the Swedish Permanent
Mission to the UN in New York where he served in
the Security Council handling affairs for
Afghanistan, Iraq, Tajikistan and Western Sahara,
and the General Assembly's Third Committee
addressing human rights in Iran, Afghanistan,
Myanmar and Iraq. He has also served as a foreign
policy advisor to Congressman Bob Ney (R-OH).

 

His expertise is Iranian foreign policy and US-Iran relations. His book,
Treacherous Alliance - The Secret Dealings of Israel, Iran and the United
States, (Yale University Press 2007), is based on more than 130
interviews that Dr. Parsi has conducted - in his personal capacity - in
Israel, Iran and the United States with senior officials from all three
countries.

Dr. Parsi's articles on Middle East affairs have been published in the
Financial Times, Jane's Intelligence Review, the Globalist, the Jerusalem
Post, The Forward, BitterLemons and the Daily Star.

As a Middle East expert, he is a frequent commentator on US-Iranian
relations and Middle Eastern affairs, and has appeared on BBC World

News, PBS NewsHour with Jim Lehrer, CNN, Al Jazeera, C-Span, NPR,
ABC, and MSNBC.

Dr. Parsi was born in Iran and grew up in Sweden. He earned a Master's
degree in international relations at Uppsala University, a second Master's
degree in economics at Stockholm School of Economics and a PhD in
international relations at Johns Hopkins University's SAIS. His personal

website is www.tritaparsi.com.

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“+ Lee Introduces Sweeping Iran?
tran Diplomacy Bill
“> Mass Rally in DC Calis You may be surprised at the answer; there are already over 169
for New Strategy in traq, cosponsors of H.Con.Res. 362.
No War {n Iran
‘+ Lantos Cail for More ran This resolution demands that the president initiate an international
Sanctions at Hearing _ effort to Impose a land, sea, and air blockade on Iran to prevent it from

importing gasoline and to subject all cargo entering or leaving Iran to

 

: stringent inspection requirements.
Login 9 P q
Usemame: : For such a blockade to be imposed without United Nations
. authority (which the resolution does not call for) would be
considered an act of war. Some congressional sources say the .
Password: House could vote on the resolution as early as this week. US Iran Media

Remember me Adoption of this resolution would pave the way for such a war and

Login bypass diplomacy. Sensing that the threat of war has once again
Lost Password? increased, IAEA Head El Baradei warned yesterday that he would resign
No account yet? Register if any country attacked Iran.
Syndicate The immediate effect would be a further increase in oil prices - with gas

prices in the US incing closer to $5/gallon and beyond.

  

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Is your re

 

ative a cosponsor?

Email your representative today and ask him or her to oppose Anti-Discrimination
this measure for war!

Take Action

 

1 COMPOSE MESSAGE

 

Message Recipients: Delivery Method:

oo lraNexus
« Your U.S. Senators ie Email
* Your U.S. House Representative © Printed Letter

http://capwiz.com/niacouncil/issues/alert/?alertid=1 1523111 7/1/2008
National IraniaisAmedcan- Comadl IDZA@oHoment 5-2 Filed 07/08/08

Subject:

Say “no” to Iran war resolution

Editable text to House:
(edit or add your own text - 8850 characters left)

Please don’t raise gas prices to $6/gallon.

This is what will happen if the Congress passes H.Con.Res.
362, which demands that President Bush impose a blockade to
prevent Iran from importing gasoline and to subject all cargo
entering or leaving Iran to stringent inspection requirements.

A blockade, which is universally recognized as an act of war,
would destabilize the Strait of Hormuz and drive up oil prices.
Even the threat of such a measure, which this resolution
represents, will cause us more pain at the pump.

 

Editable text to Senate:
' {edit or add your own text - 8932 characters left)

Please don't raise gas prices to $6/gallon.

This is what will happen if the Congress passes S.Res. 580,
which demands that President Bush impose a blockade to
prevent Iran from importing refined petroleum products.

A blockade, which is universally recognized as an act of war,
would destabilize the Strait of Hormuz and drive up oil prices.
Even the threat of such a measure, which this resolution
represents, will cause us more pain at the pump.

Tt is ironic that measures of this kind - or the mere threat of

Tip: Cutting-and-pasting? Save as plain text first. spell check. uy

- Your Closing: Your Name:

‘Sincerely,

2 SENDER INFORMATION

This system requires that you provide your name and contact
information. This information will not be used for any purpose other
- than to identify you to the recipient.

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Prefix (required by some officials)
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Title

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i YES! Keep t me in n the loop by sending me the
NIAC Newsletter. I understand that I can
unsubscribe at any time.

A copy of your message will be sent to the e-mail address

entered above.

 

(Please click only once.)

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DC Calls for New Strategy in Iraq, No War in Iran

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Gallup poll confirms
majority of Americans
favor diplomacy with Iran

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Feo Us; Z0Uu7”
Washington DC - An estimated 100,000 people attended a rally this pats
Saturday surrounding the US Capitol to protest President Bush's
escalation strategy in Iraq and call for an end to hostilities with Iran.
While the threat of war with Iran was not an official component of the
rally sponsored by United for Peace and Justice (UFP3), thousands of
demonstrators chanted for the prevention of conflict with Iran and carried
signs and banners calling for “Stop the War on Iran.”

The Campaign against Sanctions and Military Intervention on Iran
(CASMII) carried banners and signs opposing war with Iran.

Among the speakers at the event were several Members of Congress,
including Reps. Lynn Woolsey (D-CA) and Maxine Watters (D-CA), the
coauthors of legislation that would institute a phased withdrawal from
Iraq over six months. Speakers also included war veterans, religious
heads, and Hollywood celebrities.

The majority of speakers at the rally fiercely criticized President Bush's
plan to address the sectarian violence in Iraq by escalating troop jevels
there by an additional 21,500.

Several speakers referenced the need for the President to pay closer
attention to the bipartisan Iraq Study Group’s (ISG) recommendations.
The ISG report urges direct talks between the US and Iran and Syria in
order to stabilize conditions in Iraq.

About 40 people participated in a counter-protest nearby the Senate
office buildings and expressed their backing for the operation in Iraq.

Building on the march’s momentum, UFP) sponsored a lobby day on
Congress on Monday, January 29, On the previous day, a National Iranian
American Council (NIAC) representative was invited to lead a workshop
on Iran and to help provide information and education concerning
opportunities to resolve the US-Iran stand-off peacefully for the 1,000
estimated people who planned to visit their congressional
representatives.

   

   

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Anti-Discrimination

 

 

 

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oy
slain pn tran, Identity, Washington DC - NIAC decries Rudy Giuliani's promise of initiating war

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& The impact of Electoral with Iran over its nuclear program. Giuliani said yesterday in London that
bance fran’s Security if Iran gets "to the point that they become a nuclear power, then we will
Ly Update: Is a New set them back five years, That is not a threat, that is a promise.”

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“> NIAC in the News: Time
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Uy NIAC in the News:
Response to Sen. 1, . . . . NIAC Factbook
McCain's Cail for The purpose of NIAC’s Washington Policy Watch is threefold: to bring . E
Additional Sanctions ss transparency to debates on issues affecting Iranian Americans, to allow of
4» NIAC photo essay in . fs
lranian.com: Good our community to react to and affect these debates at an early stage, and
peopie, good work to give young Iranian Americans first-hand experience and exposure to Cc

the policy world in Washington, DC.

 

ran The policy process “inside the beltway”—a common phrase in
Washington—can be quite complicated. Ideas and solutions may float
US-lran News around in search of an appropriate problem, rather than the other way
“+ Slavin on Iran, identity, around. New policies can be formed months before they are picked up by Scholarships
and influence the media, giving latecomers little opportunity to affect them. Policy
“ Update: Is @ New speakers often speak one language within the protected circles of the Iranian-American
Resolution Declaring War Policy world in Washington, and another in front of the cameras. Scholarships
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4 Set Reasonable
Expectations but Talk to
fran, Committee
Witnesses Argue

4 Gallup poll confirms : : ‘é i
majority of Americans _ ;
favor diplomacy with Iran

Policy seminars at
think tanks, seldom
covered by the press,
can often give a taste
of policies to come.
Unfortunately, Iranian
Americans have not
had access to policy

 

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NIAC Events

meetings and, as a result, have been unable to affect the formation of
new policies at the crucial initial stages. Furthermore, the complexities of
the issues, as well as the motives of key political actors, are unknown to
the vast majority of Iranian Americans.

NIAC’s Washington Policy Watch program aims first to bring transparency
to debates on issues most important to Iranian Americans. Second, by
covering policy conferences and hearings in Washington DC, NIAC allows
Iranian Americans to react to, and influence policy at an early stage.
Exposure to these debates and knowledge of the issues by our
community makes it more difficult for policy makers to ignore the
Iranian-American public.

By sending Iranian-American college and graduate students to cover
these events, NIAC meets its third objective and provides our youth with
first-hand exposure to Congressional hearings, think tank conferences
and policy seminars. Early in their careers, our youth will be afforded
practical knowledge and networking opportunities, which will serve them
well in their future careers.

 

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NIAC has covered all Congressional hearings and policy conferences in

Washington DC that are of relevance to the interest of the Iranian
American community since the Fall of 2002. Our published reports on
these events are not only read by Iranian Americans, but also by
members of the National Security Council, the US State Department, the
Department of Defense, Congressional staffers, and members of foreign
ministries overseas.

- This program gives our Iranian-American interns the invaluable
experience of not only attending these hearings and conferences, but also

writing for a highly sophisticated audience, In turn, their hard work
enhances our community’s knowledge of the policy process and further
strengthens our ability to affect the outcomes.

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US Iran Media

 

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An lranian American
Voice in Washington DC!

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NIAC Newsletter The NIAC Factbook: The Truth about NIAC Donate to NIAC!
your email Shadee Malaklou. Enter Amount:
Apr-03;-2008
HTML (Text What is NIAC's mission? Has it evolved since the $ 50.00
Subscribe organization's inception?
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. Since its inception, NIAC's mission has been to promote Iranian- —

Top Stories American participation in American civic life. This mission was Join NIAC!

+ Background on amended during a February 2008 Board of Directors meeting to

Persepolis Artifact Case te: . .
Ly Slavin on Iran, Identity, reflect NIAC's increased efforts on behalf of Iranian Americans.
and Influence

Tee ae er icdcouity  NIAC's new mission is threefold: To advance the interests of the

   

G Policies Iranian-American community on civic, cultural and political issues;
Update: is a New eos
Congressional to supply the resources, knowledge and tools to enable civic

Resolution Declaring War participation and informed decision making; and to provide the
with iran? infrastructure for building bridges between Iranian-American
organizations and the peoples of America and Iran.
NIAC in the News

Ly NIAC in the News:
Ahmadinejad Faces iIntra-
Party Challenge
Response to Sen. NIAC Factbook
McCain's Call for
Additional Sanctions

“+ NIAG photo essay in
lranian.cem: Good
people, geod work == -«$ Who founded NIAC?

“4 What Do Google and
Saddam Have in
Common? SW NIAC was founded in early 2002 by Alex Patico, Trita Parsi, Babak

Mee ith anerocch wih — Talebi, and Farzin Illich as a 501 c (3) non-profit education

 

fan SS:SC« ganization with the express mission to promote Iranian-
American civic participation. Trita Parsi and Babak Talebi continue
US-iran News to work for NIAC, as President and Director of Community

Ly siavin on tran, identity, Relations (respectively). Alex Patico serves on NIAC's Advisory

and influence Board. Scholarships

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Witnesses Argue

4» Gailup poll contirms Are Iranian Americans the only members of NIAC?
majority of Americans

favar diplomacy with Iran

   

 

NIAC is an American organization open to everyone, regardless of

http://www.niacouncil.org/index.php?option=com_content&task=view&id=1076&Itemid=2 7/1/2008
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NIAC Events their ethnic, religious and political background. NIAC members, US Iran Media
board members and supporters come from all walks of American Z
life. They are joined by the idea that Iranian-Americans have the
ability to play a key role in American civil society with the same
levels of success and professionalism that they have played in
American economic, academic, technological and scientific life.

   

 

Anti-Discrimination

Where does NIAC's funding come from?

Approximately 75% of NIAC's funds come from the Iranian-
American community, a point of pride for NIAC. NIAC is a true
grassroots organization, with members in over 44 states. Over the
past five years, the average donation of our membership has
ranged from $112 - $160 per person per year.

NIAC receives the remaining 25% of its funds from prominent
foundations like the Ploughshares Fund, the Tides Foundation, and
the Open Society Institute. In the past, NIAC has also received
funding from the National Endowment for Democracy (NED).

NIAC does not receive funds from any government, including the
US or the Iranian governments.

As a 501 ¢ (3) non-profit, NIAC's financial records are part of the
public record. Also, we are taking a Jead in the Iranian-American
community to spread a culture of transparency, and have made

 

 

Support Prowect
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What are some of NIAC's accomplishments?

Since its inception in 2002, NIAC has enjoyed unprecedented

: . : lrancensus
success. NIAC is regularly quoted in numerous media outlets as
an authority on affairs related to the Iranian-American £7 strong in
community, including US-Iran relations; and is celebrated as the Mu? Tetaebe coaeeie anes trans
largest Iranian American grassroots organization, with members POO oe
in 44 states. N Be

NIAC is a household name on Capitol Hill and has emerged as a
trusted source on US-Iran relations and the Iranian-American
viewpoint. NIAC often teams up with groups like the New America
Foundation and Amnesty International to discuss issues like the

deteriorating human rights situation inside Iran and the Iranian Register to Vote!

nuclear file. ‘
RegisterTo

Some of NIAC's individual successes are as follows: | VOTE yy "4

-- NIAC regularly hosts briefings on Capitol Hill for Congressional
Staffers on areas of interest to the Iranian-American community.
Some of our latest briefings have focused on Iran's parliamentary

http://www.niacouncil.org/index.php?option=com_content&task=view&id=1076&Itemid=2 = 7/1/2008
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elections, the National Intelligence Estimate (NIE) report on Iran,
and Iran's role in Iraq. ‘

-- NIAC has been on the forefront of the debate on US foreign
policy with Iran, pushing for direct, diplomatic negotiations, and
urging against war.

-- In 2003, NIAC challenged and won against Monster.com, a
major US company discriminating against Iranian-Americans by
keeping them from competing fairly in the job market.

-- In January 2005, NIAC successfully compelled the National

Geographic Society to correct their 8" edition maps to read
"Persian Gulf" instead of “Arabian Gulf."

-- NIAC forced an apology from MSNBC's Don Imus for a
derogatory comment he made in 2004 about an Iranian airliner
crash that killed 43 passengers.

-~ NIAC worked with writer/director Wayne Kramer and Weinstein
Company to make changes to the screenplay for Crossing Over
(2007). The film, which features an all-star cast, originally
depicted Iranian Americans committing an "honor killing." Had the
script not changed, the movie would have had similar affects for
the Iranian-American community as the film, Not Without My
Daughter (1991).

 

How does NIAC choose which issues to focus on?

NIAC advocates the interests of the Iranian American community,
as defined by Iranian Americans themselves. As a true grass-roots
organization, NIAC'’s membership regularly votes on the
organization's stance on various issues, actively shaping the
direction of the organization.

NIAC focuses on issues that are on the national agenda, like
major legislation passing through Congress or the potential of a
US-Iran war; and issues specific to the Iranian-American
community, like the mislabeling of the "Persian Gulf" on Google
Earth.

 

Why is NIAC being defamed by supporters of military
confrontation with Iran?

NIAC opposes war with Iran, and has been very successful
pushing for diplomacy on Capitol Hill. NIAC's efforts lend Iranian
Americans a voice in Washington, D.C.; but like all successful
political organizations, it is impossible to be effective without
garnering critics.

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NIAC's critics equate opposition to war with support for the
Iranian government. Nothing could be further from the truth,
NIAC opposes a US-Iran war because it would be detrimental to
US national interest and likely prolong the reign of the current
Iranian government.

NIAC's critics include neo-conservatives activists like Kenneth
Timmerman and Michael Rubin, two steadfast supporters of war
with Iraq. Critics in the Iranian-American community include
groups like the terrorist-listed People's Mujahedin of Iran (also
known as the MEK or MKO).

NIAC welcomes a debate on how to best deal with the challenge
that Iran poses to the United States, but we deplore the practice
of resorting to ad hominem attacks and character defamation,
rather than addressing the issues in good faith.

 

 

Is NIAC is a lobbying group? If so, for whom does it lobby?

No, NIAC is not a lobby. NIAC does, however, advocate the
interests of the Iranian-American community-as defined by
Iranian Americans-on Capitol Hill.

NIAC does not lobby on behalf of the Iranian government or any
other government. NIAC's agenda is determined by its
membership. The positions NIAC has taken on foreign policy, for
example, reflect the view of the vast majority of Iranian

Americans, according to a 2007 poll conducted by the University

 

Because NIAC opposes a US-Iran war, does it support the
Iranian government?

No, NIAC does not support the Iranian government. Opposition to
a US-Iran war does not equate support for the Iranian
government. NIAC opposes war because it is not in the national
interest of the United States. NIAC believes that war would
impose tremendous suffering on the American (and the Iranian)
people. NIAC also believes that war with Iran will most likely fuel
radial elements inside Iran, and strengthen Iran's current
government.

Numerous public opinion polls in the United States have shown
tremendous opposition to war and support for diplomacy,
Berkeley. The vast majority of Iranian Americans wish to see a
different future for Iran, and this is why they have made America
their new home. However, as they witness developments in Iraq,
Iranian Americans tend to believe that prospects for change inside

http://www.niacouncil.org/index.php?option=com_content&task=view&id=1076&ltemid=2 7/1/2008
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Iran would be undermined by war.

Why does NIAC oppose US government funding for
organizations inside Iran?

Prominent Iranian pro-democracy and human rights activists-like
Nobel Peace Prize winner Shirin Ebadi, investigative journalist
Akbar Ganji, Woodrow Wilson scholar Haleh Esfandiari, and
Human Rights Watch-have all come out forcefully against any
politicized US government funding for organizations inside Iran,
because of the additional security risk these funds pose to on-the-
ground activists. :

otntenranntnennninninnnnnennnnne A healeyes that it is critical for the United States-to-take the
concerns and prospective of pro-democracy, human rights
activists inside Iran seriously. NIAC has seen-up close-the
negative effects of politicized US government funding. For several
years, NIAC worked with Iranian NGOs doing non-political
capacity building through National Endowment for Democracy
(NED) funds; and we witnessed how the atmosphere in which
these organizations operated inside Iran became drastically worse
due to politicized US funds.

NIAC believes that any effort by the US government to help the
Iranian people must be supported by the Iranian people, and
must not endanger their lives.

 

What is NIAC's position about the human rights situation in
Tran?

NIAC is deeply concerned about the human rights situation in
Iran, and has made a number of positive contributions to this
issue. NIAC has worked on several occasions with legitimate
human rights organizations, like Amnesty International and
Human Rights Watch, to call attention to human rights abuses in
Iran; and on July 26, 2007, NIAC hosted a conference on this very
issue (sponsored by Amnesty International) on Capitol Hill in
Washington, D.C. NIAC opposes, however, efforts to use Iran's
abysmal human rights record as a pretext to start a war with Iran,
mindful of the suffering and human rights violations that a war
would bring.

Why is NIAC suing Hassan Daioleslam?

Hassan Daioleslam, who has been identified by former members

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of the terrorist-listed People's Mujahedin of Iran (also known as

and its President, Trita Parsi.

Daioleslam is opposed to dialogue between the US and Iran.
Because NIAC has called for direct, comprehensive talks with Iran,
Daioleslam has attempted to silence NIAC by equating opposition
to a US-Iran war with lobbying for the Iranian government.

NIAC has tried to engage Daioleslam, but despite our efforts,
Daiolesiam has continued to bully NIAC through defamation,
slander, misquotations, incorrect links and references to figures
that played no role in NIAC’s inception, operations, or
development, forcing NIAC to seek legal recourse.

The MEK/MKO is recognized by the US State Department as a
terrorist organization and its extensive human rights violations
have been documented by Human. Rights. Watch.

 

 

Additional information on Hassan Daioleslam and Kenneth

Timmerman's defamation campaign against NIAC can be found
here.

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incentive package to halt the
country's nuclear enrichment
program has opened a new
chapter in Tehran's successive
transgression of nuclear demar-
cations. Even before EU foreign
policy and security chief, Javier
Solana, could deliver the pack-
age to the Iranian Foreign Minis-
ter, Tehran had already warned
that it would reject any deal re-
quiring a halt to uranium
enrichment. In the words of Ali
Larijani, the new speaker of the
parliament, Iran is allergic'to the
suspension of its enrichment
program.

For those who describe the
package as a "generous offer,"
Iran's decision appears insular,
even irrational. However, if the
purpose of the deal is to lure Te-
hran suspend enrichment, the
new package, once again, failed
to deliver the most significant
incentive for Tehran to change
its behavior: the permanent de-
ferment of the U.S. containment
strategy. What the Islamic Re-
public urgently wants is the as-

 

web: aavw. TACO

-Iran’s-likely-rejection-of the new

 

 

WHY TEHRAN WILL REJECT THE NEW INCENTIVE PACKAGE

the package as a "gener-
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package, once again,
failed to deliver the most
significant incentive for
Tehran to change its be-
havior: the permanent de-
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tainment strategy.

surance that Washington will
not pose a threat to its surviv-
al, a comprehensive package of
incentive that explicates a con-
sistent U.S. policy toward Iran,
devoid of economic sanctions
and an aggressive program for
regime change.

Tehran's reaction to the pack-
age is threefold. First off, Te-
hran has been defying U.S.
sanctions for years, acquiring
much needed technology for its
nuclear program from alterna-

 

 

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will certainly make things hard-
er for Iran, but not necessarily
prevent it from developing nuc-
lear technology. Armed with a
huge windfall of oil revenue due
to record-high oil prices, Te-
hran will continue to acquire
new technology and expand its
nuclear program in subversive
ways, defying future U.N. sanc-
tions, as it has successfully
continued to do since it re-
jected the first incentive pack-
age in 2006.

Rejection of the latest package
is backed with the belief that
the U.S. is militarily too vulner-
able to attack Iran and the Se-
curity Council lacks the political
will to engage in a military con-
frontation. For the most part,
Tehran views the logic of sanc-
tions primarily as a tactic of
psychologica! warfare that is
best tackled with defiance.

The notion of defiance brings us
to the second reason why Te-
hran will reject the package:
symbolic politics. The country's

 
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NATIONAL IRANIAN AMERICAN COUNCIL

 

WHY TEHRAN WILL REJECT THE NEW INCENTIVE PACKAGE

nuclear program is a source of
national pride to many Ira-
nians, even to dissidents
strongly opposed to the theo-
cratic regime. The idea that
Iran should pursue nuclear
technology despite foreign
pressures is a belief that is
shared by many Iranians of di-
verse political backgrounds.
_The clerical regime is fully
aware of the power of such
symbolic politics and continues
to capitalize on it by propagat-
ing the value of its nuclear
project through various civic,
educational institutions and
media outlets, including popular
shows on television. In fact,
with an increase of sanctions,
Tehran will find more ammuni-
tion to bolster its legitimacy
among ordinary Iranians,
therefore continue with its ura-
nium enrichment capabilities at
a faster pace.

But the main reason why Te-
hran will reject the offer lies
with Iran’s deep suspicion over
U.S. objectives to endorse the
incentive package. History
serves as a guide here. At the
time when the six-nation offer
of incentives was rejected by
Tehran in 2006, the U.S. State
Department allocated $75 mil-
lion in emergency funds to sup-
port oppositional forces outside
and inside Iran. The problem
with the democracy-promotion
program was that it was made
public only months before the
first incentive package was in-
troduced to Tehran. The re-
gime-change policy cancelled
out the incentive package,

The regime-change policy
cancelled out the incentive
package, since it pro-
moted programs for the
annihilation of the regime
while at the same time of-
fering incentives for its
survival. Such inconsis-
tencies have made the
Iranian regime highly sus-
pi cious of Washington's
participation in the nuc-
lear talks.

since it promoted programs for
the annihilation of the regime
while at the same time offering
incentives for its survival. Such
inconsistencies have made the
Iranian regime highly suspi-
cious of Washington's participa-
tion in the nuclear talks.

It is now highly likely that
Iran's move will prompt the Se-
curity Council and Germany to
adopt tougher sanctions. While
sanctions will surely hinder
Iran's economic growth, such
punitive measures aimed at in-
ternational ostracism will only
harden Tehran's posture on the
nuclear issue and, in turn, en-
courage it to charge ahead with
its nuclear program. With the
rise of a climate of suspicion,
the Iranian regime will also
move to further limit political
activities in the name of unify-
ing the nation against a foreign
threat. In reality, the repercus-
sions of the sanctions are mul-
titude, most significantly hin-
dering the growth of the Ira-
nian civil society as the regime
gains strength with the increas-

ing centralization of state pow-
er as a reaction to the sanc-
tions.

Yet recent tensions over Iran's
nuclear program come as Iran's
political landscape undergo
considerable transformation. As
America heads to the polls in
November, the newly elected
Iranian parliament embraces a
new political approach, which
appears to be less confronta-
tional in posture though still
cautious about West's inten-
tions to halt Iran's nuclear pro-
gram. Led by the pragmatic Ali
Larijani, the revisionist con-
servatives still want to nego-
tiate with the West over the
nuclear issue; however, they
are weary of Washington's ob-
jective toward Iran.

For some time to come, the po-
litical balance in Iran will be
indirectly shaped by decisions
Washington will make to influ-
ence the Security Council. The
best way of promoting nuclear
non-proliferation and democra-
tization in Iran is by allowing
the Iranian civil society to have
direct access to the global mar-
ket. But in order to do so,
Washington must first recon-
sider its policy of sanctions that
only helps empowering the Ira-
nian state and weaken Iran’s
civil society.

Prof. Babak Rahimi teaches
Iranian and Islamic Studies at
University of California San Di-
ego. He is currently conducting
field research in Iran.

 
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U.S. SANCTIONS ON IRAN: WILL THEY WORK?

 

 

The Bush administration’s latest
unilateral sanctions on Iran are
likely to fail. The debate over
whether or not these sanctions
will work has so far focused on
economic considerations. Psy-
chological and political factors,
however, are more important.

Historically, Iranian national sen-
timent soars in the face of for-
eign pressure. Like the leaders
of the past, the current regime
can benefit internally from re-
sisting coercion by foreign pow-
ers such as the United States.

In the nineteenth century, the
Iranian people rejected imperial
Britain’s bid to impose a mono-
poly on the Iranian tobacco in-
dustry. Led by opposition lead-
ers, the public stopped using to-
bacco, and in 1892 the Qajar
monarch, Nasser-edin Shah, was
forced to cancel the tobacco

Historically, Iranian na-
tional sen-timent soars
in the face of for-eign
pressure. Like the lead-
ers of the past, the cur-
rent regime can benefit
internally from resisting
coercion by foreign
powers such as the
United States.

concession he had granted to
the British.

The flame of national awaken-
ing thus kindled led to the Ira-
nian Constitutional Movement
at the turn of the twentieth
century. The movement aimed
primarily at ridding Iran of for-
eign domination. Its nationalist
and religious supporters
created the first representative
government in Iranian history

 

to limit arbitrary powers of the
Shah in foreign as well as do-
mestic affairs. The failure of the
Qajar monarchs to share power
with the religious and political
opposition brought their dynas-
ty to an end.

By contrast, Reza Khan, a
mere colonel in the Iranian
Cossack Brigade, shrewdly ex-
ploited the frustrated Iranian
national will. He first consoli-
dated his power by successful
military campaigns against
provinces seeking autonomy,
strengthened the central gov-
ernment, and declared himself
Shah in 1925.

All criticism of his regime aside,
he in fact pursued a rational
and realistic foreign policy to
free Iran from a century of Brit-
ish and Russian domination,
setting the foundation for

 

 
 

 
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NATIONAL IRANIAN AMERICAN COUNCIL

 

 

U.S. SANCTIONS ON IRAN: WILL THEY WORK?

achieving Iran‘s territorial inte-
grity and political indepen-
dence.

But his son, Mohammad Reza
Shah, failed to learn from his
father’s example. Instead of
seeking the support of religious
and nationalist forces, he
waged a campaign of political
warfare against the supporters
of Prime Minister Mohammad
Musaddiq. While the British and
American covert operations
helped overthrow the Musaddiq
government in 1953, the
Shah’s victory marked his loss
of political legitimacy, and
eventually sealed his fate.

While Mohammad Reza Shah
adamantly refused to share real
power even with moderate na-
tionalist opposition forces dur-
ing the revolutionary crisis in
1978-1979, Ayatollah Ruhollah
Khomeini took a different ap-
proach, calling on support from
nationalist leaders to wrest
power from the Shah and es-
tablish the Islamic Republic.

Even though Khomeini later
suppressed nationalist political
forces, still he rode the wave of
popular Iranian nationalist feel-
ing in fighting a bloody defen-
sive war against Iraq in 1980-
1988, which cost the lives of
hundreds of thousands of Ira-
nians—young and old, men and
women, religious and secular—
who had responded patriotically
to the invasion of their coun-
try.

In reaction to foreign
coercion, the Iranian
sense of national unity
overcomes factional
strife. It is a transcen-
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strife. It is a transcendental
force inspired by a powerful be-
lief of the Iranian people that
their national identity is rooted
in the continuity and resilience
of their culture and civilization
despite over two millennia of
foreign pressures and inva-

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Iranian people that
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rooted in the continuity
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culture and civilization
despite over two mil-
lennia of foreign pres-
sures and invasions,
from Alexander of Ma-
cedonia to Saddam of
Iraq.

In the face of U.S. pressure and
threats of force, Iranian su-
preme leader Ali Khamenei and
President Ahmadinejad insist on
Iran’s right to continue uranium
enrichment for energy on Ira-
nian soil. This does not simply
reflect, as so often portrayed,
the hard-line stance of Ahmadi-
nejad. Even the moderate and
soft-spoken President Moham-
mad Khatami, who served as
Iran’s president from 1997 to
2005, warned America and
Israel of Iran’s retaliatory “fire
of hell” in response to any mili-
tary attack on Iran over the
nuclear issue.

In reaction to foreign coercion,
the Iranian sense of national
unity overcomes factional

donia to Saddam of Iraq.

Given such profound Iranian
cultural, psychological and po-
litical realities, America’s newly
expanded unilateral sanctions
are likely to fail, as have all
previous sanctions since the
United States broke diplomatic
relations with Iran in 1980.

Diplomacy, rather than pres-
sure or military action, remains
the most realistic option. Amer-
ican and Iranian ambassadors
in Baghdad will soon renew dis-
cussions on Iraqi security. Yet
to resolve the nuclear standoff
between the US and Iran, un-
conditional and direct negotia-
tions at higher levels are essen-
tial to avoid a military collision.

R.K. Ramazani is Professor
Emeritus of Government and
Foreign Affairs at the University
of Virginia. For over a half cen-
tury, he has written extensively
on Iran, including the prize-
winning The Foreign Policy of
Iran. The author thanks W.
Scott Harrop for assistance with
this essay. This article first ap-
peared in the Daily Progress.

 
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Voice in Washington DC!

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Latest News Join NIAC!

4 Event: NIAC and NAF to Ask your Senators to support diplomacy with Iran
Hold US-iran Conference
on Capito! Hil February
14 .
Ls Lee Introduces Sweeping 4 There is new momentum on Capitol Hill to pursue a

   

 

4 ese mally NDE CaS shift in US policy towards Iran. Most recently, Senator
for New Strategy in fraq, Feinstein of California added her powerful voice to this

» ee ~—SCSMebatte,, callling for direct, unconditional dialogue
Sanctions at Hearing between the US and Iran. (See video ). The support

of the Iranian American community in California for
her position was instrumental in her decision.

Login
Usemame: For other Senators to follow her lead, it is crucial that
Password! they hear from the Iranian-American community. In US fran Media
- order for Senator Feinstein’s efforts to succeed, she

Remember me needs likeminded Senators to stand by her, so that
Login vvord? the new administration—whether Democratic or
No account yet? Regleter Republican—can have viable options for a new,

effective US foreign policy on Iran.

Syndicate

At NIAC’s April 8 conference she re-iterated her
support for an alternative to sanctions and war.
The proposal, recently put forth by former senior
‘American officials and nuclear experts, suggests a Anti-Discrimination
muitinational fuel enrichment facility inside Iran under
extensive international supervision.

   

Please take a moment to send the letter below to your
members of the Senate. With your input and
involvement, your Senators can play an important role
in shaping an effective and constructive policy towards
Iran.

 

TAKE ACTION NOW! — Enter Your Zip Code: - Go! | lraNexus

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Frequent Asked Questions

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Frequent Asked Questions

Q: How long has HIC existed?

AcIIC was founded in August 1997 by Trita Parsi, the curent President. While conducting research on Iran for US

Congressmen in Washington DC in 1997, he recognized the necessity of establishing a lobbying organization in

order to protect the socio-economic and political aspirations of the Iranian people on one hand, and to promote the

historical and contemporary cultural and scientific contributions of people of Iranian heritage worldwide, on the

other. This consequently led, in collaboration with a large number of intellectuals and experts, to the formation of

Iranians for International Cooperation (IIC).

Q: What is IIC? Is it a political party or a lobby organization?

A: IIC is not a political party or even a political organization. We consider ourselves a lobby organization; we use

our constitutional rights to influence our elected representatives. But we have no ambition to run for public office!

We simply do not consider ourselves an alternative to the regime or to the opposition.

Q: But if lIC is a lobby organization, doesn't it become political if it supports politicians?

A: 1IC doesn't support any politicians, political groups or movements! We support ideas, objectives and reforms.

And as a non-political group, we don't make politics out of this: If someone presents an idea or, in our opinion,

genuinely strives to push for reforms which we agree with, we will support that move-- regardless if the person in

question is a former communist, mullah or monarchist. We support the idea or the reform, not the person/group

behind it.

one i at does tC aim to do? Do we really need-an tranian tobby? ~~~
’ A: Our main objective is to safeguard Iran's and Iranian's interests. Currently, our agenda is topped by the removal

of US economic and political sanctions against fran, and the commencement of an Iran-US dialogue.

lranians constitute one of the most productive and highly educated ethnic groups in the US. Yet, we are a very

small voice in US politics. We simply do not participate in the political processes in this great democracy, and if we

do not participate we cannot expect to have our voice heard. Many of the problems Iranians face in the US, and

much of the enmity between the US and Iran, could either have been terminated or reduced had we attempted to

constitute a political force in the US. For instance, had there been an organized Iranian opposition to the proposed

US sanctions back in 1995, chances are that the sanctions either wouldn't have been enacted or that they would

have been enacted in a much more lenient form. Now, we missed that train, but we still have the opportunity and

the responsibility to help our people out of this situation and to make sure that we never get in such a precarious

situation again.Of course a non-political Iranian lobby is needed!

Q: Why should we oppose US sanctions and what would an US-Iran dialogue do?

A:There are several reasons why we should oppose US sanctions:

1. The sanctions do not hit the regime, they hit the people-- our relatives back in Iran-- and make their
already hard life even more difficult to endure.
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2. Economic hardship will not lead to any political change in Iran. On the contrary, history has shown us that |
for the emergence of democracy, a strong middle class is needed. US sanctions effectively prohibit the
emergence of a strong middle class— and thus the emergence of democracy... To make the above point
even clearer: Has economic sanctions brought democracy or even change to Libya, Iraq, or North Korea? No,
but it has caused widespread starvation. And if we don't act now, we may soon face the same fate as the
iraqi people.

3. As a result of the US sanctions, we see how our bright students get discriminated against in the US. For
instance, with Iranian addresses one can not sign up to give the TOEFL and many other exams. Thus, US
sanctions prohibit Iranians’ access to the best universities in the world.

4, Due to the US sanctions, the US opposes Central Asian gas pipelines to reach the Persian Gulf through
iran-- the shortest and cheapest way. The hard currency Iran would make on such pipelines is insignificant.
However, the geopolitical and strategic importance Iran would gain by having these pipelines pass its
territory are immense, not only for now but for the next 50 to 70 years. Thus, the US sanctions do not only
aim to impoverish the Iranian people, but also to weaken the Iranian nation for the next half century--
regardiess of what regime reigns in Tehran, be it democratic or theocratic.

5. Now that we are seeing tremendous change in Iran, US aggression against Iran will be counterproductive.
The-Jranian_people voted for.President.Khatami.to.get-a-more-open.society..If the sanctions.succeed.in....----
crippling Iran, we will get the exact opposite: A more closed society where conservative forces' struggle to
turn the clock back will be facilitated. We have the power and the responsibility to make sure this does not
occur. From the American perspective, US sanctions are not only an excessively costly policy, but undermine
US interests in the Middle East, one of the most strategically important regions in the world.

Regarding an US-Iran dialogue, this is simply the only way to put an end to the now 20 year old enmity between
these two great nations. Just as the US has urged all of its allies to use dialogue and not violence in order to solve

. disputes and conflicts, dialogue should be the mean used to solve the disagreements between Iran and the US.
Furthermore, just the resumption of talks will mean that half the battle has been won-- Iran will be one step closer
to break out of its political and economic isolation.
Q: How does IIC work?
A:We work by. informing our representatives of our opinions on these issue. We petition Congress and the EU
Parliament, we meet with politicians, we send editorials to major newspapers, we promote tourism to Iran, we
promote sports and cultural exchanges, we fight against discrimination facing Iranians in the US etc. etc.
Q: What is required of liC members?
A:Participation is fully voluntarily, although it is preferred that members assist with drafting letters, meet with
lawmakers, vote on important issues, participate in debates etc. etc. Everyone participates according to one's
abilities.
Q: How is lIC organized?

~-AcHCis-lead bythe Board-of Directors, Our-activities are coordinated through our three-mailing lists,.in- whichall... cee we
members can participate.
Q: What is required to become a member of IlIC?
A:To become a member, all you must do is to agree with our charter which you can find on our website. By
submitting our online form , you sign that you agree with our charter and the processing of your membership
request has begun.
Q: Should | become a member of lIC?
A:lf you love tran, if you wish to see friendly ties between Iran and all nations of the world, if you wish to see a
prosperous Iran, and if you wish to make all of the above come true, the answer is very simple:

Of course you should join lIC!

If you have any other questions, please do not hesitate to contact IIC President Trita Parsi.

Return to IlC Home Page
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